      CASE 0:25-cv-01649-LMP-DLM           Doc. 17     Filed 05/19/25    Page 1 of 3




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 X Corp.,                                              No. 25-cv-1649 (LMP/DLM)

                      Plaintiff,

 v.                                                       ORDER SETTING
                                                       PRETRIAL CONFERENCE
 Keith Ellison,
 in his official capacity, as Attorney General
 of Minnesota,

                      Defendant.


       Pursuant to Rule 16 of the Federal Rules of Civil Procedure, a Zoom Audio pretrial

conference will be held on June 16, 2025 at 2:00 p.m., before United States Magistrate

Judge Douglas L. Micko. Please go to Zoomgov.com and use the following login

information to join the hearing: Meeting ID: 161 080 3907, Passcode: 475365.

       A party may request that the pretrial conference be held in person by emailing the

request to Micko_chambers@mnd.uscourts.gov and copying all counsel of record.

       Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, counsel shall meet

prior to the scheduled pretrial conference to discuss settlement and the matters required by

Fed. R. Civ. P. 26(f), and shall jointly prepare and file a complete written Report of the

Rule 26(f) meeting at least one week prior to the pretrial conference. NOTE: The Report

must be submitted in the attached format. Please email a copy of the report in Word

format to Magistrate Judge Micko at micko_chambers@mnd.uscourts.gov.
        CASE 0:25-cv-01649-LMP-DLM            Doc. 17     Filed 05/19/25    Page 2 of 3




          Counsel and pro se litigants are expected to review and familiarize themselves,

before the Rule 26(f) conference, with the Federal Rules of Civil Procedure and the Local

Rules for the District of Minnesota (“Local Rules”). A copy of the Local Rules can be

found on the Court’s website at http://www.mnd.uscourts.gov/local_rules/index.shtml.

          In addition, each party shall email to chambers at least one week before the pretrial

conference a confidential settlement letter addressing what settlement discussions have

taken place, whether the party believes an early settlement conference would be productive,

and what discovery each party believes is necessary before an early settlement conference

can take place.

          If any party does not have counsel of record listed in this case, Plaintiff’s counsel

bears the responsibility to (1) immediately notify those parties and counsel of this

conference, and (2) inform those parties and counsel of the requirements set forth in this

notice.

          Failure of any party or counsel to comply with any part of this Notice, including

delivery of a copy of the Rule 26(f) Report to Magistrate Judge Micko’s chambers by the

time specified in this Notice, may result in the postponement of the pretrial conference, the

imposition of an appropriate sanction on the party or attorney who failed to comply, or

both.

          Lead trial counsel should make every effort to attend the pretrial conference. If this

is not possible, substitute counsel who can knowledgeably discuss the dispute, the matters

set forth in Fed. R. Civ. P. 16(c), the Rule 26(f) Report, and the status of settlement

discussions should attend. Counsel should contact Magistrate Judge Micko’s Courtroom
      CASE 0:25-cv-01649-LMP-DLM          Doc. 17   Filed 05/19/25   Page 3 of 3




Deputy, at 651-848-1900 or micko_chambers@mnd.uscourts.gov, with respect to any

matters concerning the pretrial conference.



DATED: May 19, 2025                             s/Douglas L. Micko
                                               DOUGLAS L. MICKO
                                               United States Magistrate Judge
